         Case 2:18-cv-14249-ES-JAD Document 25 Filed 09/23/19 Page 1 of 2 PageID: 397




                                            State of New Jersey
PHILIP D. MURPHY                         OFFICE OF THE ATTORNEY GENERAL                                       GURBIR S. GREWAL
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                                                 DIVISION OF LAW
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   Lt. Governor                                          PO Box                                                     Director
                                                  TRENTON, NJ 08625-0


                                            September 23, 2019

        Honorable Joseph A. Dickson, U.S.M.J.
        United States District Court
        Martin Luther King Courthouse
        50 Walnut St.
        Newark, NJ 07101

                    Re:     Castaldo v. State of New Jersey, et al.
                            Civil Action No. 18-cv-14249 ES-JAD

        Dear Judge Dickson:

             This Office represents Defendants Governor Philip D. Murphy
        and NJDOC Commissioner Marcus O. Hicks. The Defense of this matter
        will be handled by my colleague, Chanell Brach, who has recently
        joined the ranks at the Division of Law. DAG Branch is in the
        process of obtaining admission to the District of New Jersey, and
        as such cannot yet enter her appearance and advocate on behalf of
        the Defendants. I therefore request a 45-day extension of time for
        the Defendants to respond to Plaintiff’s most recent request for
        injunctive relief [ECF No. 24], to allow for sufficient time for
        DAG Branch to be admitted and respond to the pending motion.

             I further request that the Defense’s responsive pleading
        deadline be suspended until such time as Plaintiff’s Motion for
        Leave to File an Amended Complaint [ECF No. 20] has been decided.
        This will serve the interests of justice and judicial efficiency
        by giving the parties certainty as to what pleading is operative
        in this case.

             The Defense has not obtained Plaintiff’s consent, as he is
        incarcerated.




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Case 2:18-cv-14249-ES-JAD Document 25 Filed 09/23/19 Page 2 of 2 PageID: 398
                                                      September 23, 2019
                                                                     Page 2

     Thank you for your consideration.

                            Respectfully submitted,

                            GURBIR S. GREWAL
                            ATTORNEY GENERAL OF NEW JERSEY

                            By:   /s/ Kai W. Marshall-Otto
                                  Kai W. Marshall-Otto
                                  Deputy Attorney General

cc: Frank Castaldo (via regular mail)
